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14                                 UNITED STATES DISTRICT COURT

15                                           DISTRICT OF NEVADA

16   GABRIELLE CLARK; and WILLIAM CLARK,
                                                        Case No. 2:20-cv-02324-APG-VCF
17                        Plaintiffs,
            v.
18

19   DEMOCRACY PREP PUBLIC SCHOOLS, Inc.;
     and DEMOCRACY PREP NEVADA LLC; and
20   DEMOCRACY PREP AGASSI CAMPUS; and                  SPCSA DEFENDANTS’ MOTION TO
     NATASHA TRIVERS, in her capacity as CEO of         DISMISS THE FIRST AMENDED
21   Democracy Prep Public Schools, Inc.; and           COMPLAINT FOR DECLARATORY AND
     KIMBERLY WALL, in her capacity as assistant        INJUNCTIVE RELIEF
22   superintendent of Democracy Prep Public
     Schools, Inc.; and ADAM JOHNSON, in his
23   capacity as executive director of Democracy Prep
     Agassi Campus; and KATHRYN BASS, in her
24   capacity as a teacher at Democracy Prep Agassi
     Campus; and JOSEPH MORGAN, in his capacity
25   as president of Democracy Prep Agassi Campus;
     and REBECCA FEINEN, in her capacity as the
26   Executive Director of the State Public Charter
     School Authority; and MELISSA MACKEDON
27   (chair), RANDY KIRNER (vice chair), SHELIA
     MOULTON, SAMI RANDOLPH, MALLORY
28   CYR, TONIA HOLMES-SUTTON, DON

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     SOIFER, TAMIKA SHAUNTEE ROSALES,
 1   LEE FARRIS, in their capacities as members of
     the State Public Charter School Authority,
 2
                            Defendants.
 3

 4          Rebecca Feiden, Melissa Mackedon, Randy Kirner, Sheila Moulton, Sami Randolph, Mallory

 5   Cyr, Tonia Holmes-Sutton, Don Soifer, Tamika Shauntee Rosales, and Lee Farris (collectively “SPCSA

 6   Defendants”) move to dismiss Plaintiffs Gabrielle Clark and William Clark’s (“Plaintiffs”) First

 7   Amended Complaint for Declaratory and Injunctive Relief (the “FAC”) pursuant to Federal Rule of Civil

 8   Procedure (“Rule”) 12(b)(6) for failure to state a claim and pursuant to Rule 12(b)(1) for lack of subject

 9   matter jurisdiction. The SPCSA Defendants further join in Argument Sections I, II(A), II(B), II(C), II(F),

10   and III(A) of the DPAC Defendants’ Motion to Dismiss filed on June 3, 2021.

11   I.     INTRODUCTION

12          Plaintiffs’ FAC asserts 12 causes of actions aimed largely at the entities and individuals affiliated

13   with Democracy Prep at the Agassi Campus (“DPAC” and together with affiliated defendant entities and

14   individuals, “DPAC Defendants”), the Nevada charter school that Plaintiff William Clark currently

15   attends.1 The FAC also names the SPCSA Defendants in their capacities as members of the board of the

16   State Public Charter School Authority (“SPCSA”), or in the case of Rebecca Feiden, as Executive

17   Director of the SPCSA. The SPCSA is the Nevada authority responsible for, among other things,

18   authorizing public charter schools in the state. All of the SPCSA Defendants are named in their official

19   capacities, and the FAC contains no allegation that any of them acted outside of their official duties or

20   exceeded their authority in any way.

21          Plaintiffs’ grievances stem from a course Mr. Clark took while at DPAC. The SPCSA Defendants

22   had no role in establishing or administering the course. In fact, the FAC contains scant reference to the

23   SPCSA Defendants, and what little is included in the FAC falls well below the threshold for stating a

24   claim. Beyond Plaintiffs’ general inability to state a single claim against the SPCSA Defendants,

25   Plaintiffs’ claims are also deficient because they are not justiciable and seek remedies that are unavailable

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             DPAC’s graduation ceremonies are scheduled for Thursday June 10, so Mr. Clark is likely to
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     have graduated by the time Plaintiffs file their response to this motion.
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 1   to Plaintiffs. As set forth below and in the DPAC Defendants’ Motion to Dismiss, in which the SPCSA
 2   Defendants joins in part, all claims against the SPCSA Defendants should be dismissed.
 3   II.     BACKGROUND
 4           Mr. Clark is a senior at DPAC. FAC ¶ 10. His mother is Plaintiff Gabrielle Clark. Id. ¶ 11. As
 5   a student at DPAC, Mr. Clark allegedly was required to take a year-long course entitled “Sociology of
 6   Change.” Id. ¶ 57. Plaintiffs took issue with the subject matter of and assignments for the course. See
 7   generally id. ¶¶ 58-75. While Mr. Clark initially received a grade for the course that he was dissatisfied
 8   with and which caused concerns for his graduation prospects, Mr. Clark was eventually excused from
 9   completing the course as a graduation requirement, and his grades for the course were expunged. See id.
10   ¶¶ 81, 85; ECF No. 98 ¶ 1.2
11           The FAC contains no allegation of any action by or conduct of the SPCSA Defendants.
12   Notwithstanding this dearth of relevant allegations, Plaintiffs appear to assert 11 claims against the
13   SPCSA Defendants.3 Claims One through Five and Eleven are brought under 42 U.S.C. § 1983 based
14   on alleged violations of the First Amendment, the Establishment Clause, the Equal Protection Clause,
15   and the Fourteenth Amendment. Claim Six alleges a violation of Title VI. Claim Seven alleges a
16   violation of Title IX. Claim Eight alleges a violation of the Protection of Pupil Rights Amendment. And
17   finally, Claims Nine and Ten are state law claims for breach of contract.
18   III.    LEGAL STANDARDS
19           A.     Failure to State a Claim
20           Rule 12(b)(6) provides for dismissal of a complaint for failure to state a claim upon which relief
21   may be granted. “To survive a motion to dismiss, a complaint must contain sufficient factual matter,
22   accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662,
23   678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). “Factual allegations must
24           2
               As noted below, the Court may consider materials outside of the FAC for purposes of analyzing
25   subject matter jurisdiction without converting a motion to dismiss to a summary judgment motion. Safe
     Air for Everyone v. Meyer, 373 F.3d 1035, 1039 (9th Cir. 2004).
26           3
               Plaintiffs’ FAC is imprecise in its identification of parties against whom claims are asserted.
     For example, in Claim Nine, Plaintiffs allege a violation of a supposed contract between DPAC students
27   and families. FAC ¶ 153. Although the Claim contains not a single reference to the SPCSA Defendants,
     or even to the SPCSA, Plaintiffs claim injury based on “Defendants’ breach of contract,” which
28
     presumably would include the SPCSA Defendants. Id. ¶¶ 152-56.
                                                           3
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 1   be enough to raise a right to relief above the speculative level” and “nudge[] [plaintiffs’] claims across
 2   the line from conceivable to plausible.” Twombly, 550 U.S. at 555, 570. Courts will “discount[]
 3   conclusory statements, which are not entitled to the presumption of truth, before determining whether a
 4   claim is plausible.” Chavez v. United States, 683 F.3d 1102, 1108 (9th Cir. 2012). “A claim has facial
 5   plausibility when the plaintiff pleads factual content that allows the court to draw the reasonable inference
 6   that the defendant is liable for the misconduct alleged.” Iqbal, 556 U.S. at 678 (2009) (citation omitted).
 7          B.      Lack of Subject Matter Jurisdiction
 8          Subject matter jurisdiction is “the court’s statutory or constitutional power to adjudicate the case.”
 9   Steel Co. v. Citizens for a Better Env’t, 523 U.S. 83, 89 (1998). “If the court determines at any time that
10   it lacks subject-matter jurisdiction, the court must dismiss the action.” Rule 12(h)(3). “[T]he subject
11   matter jurisdiction of the district court is not a waivable matter and may be raised at anytime by one of
12   the parties, by motion or in the responsive pleadings, or sua sponte by the trial or reviewing court.”
13   Emrich v. Touche Ross & Co., 846 F.2d 1190, 1194 n.2 (9th Cir. 1988) (citation omitted).
14          A court must presume it lacks subject matter jurisdiction, absent an affirmative indication from
15   the record. See Renne v. Geary, 501 U.S. 312, 315-16, 320 (1991). Even if a complaint contains an
16   affirmative indication of subject matter jurisdiction, however, a defendant may challenge the facts alleged
17   in support of jurisdiction, and a “district court may review evidence beyond the complaint without
18   converting the motion to dismiss into a motion for summary judgment.” Safe Air for Everyone v. Meyer,
19   373 F.3d 1035, 1039 (9th Cir. 2004) (citing Savage v. Glendale Union High Sch., 343 F.3d 1036, 1039
20   n.2 (9th Cir. 2003)). “Once the moving party has converted the motion to dismiss into a factual motion
21   by presenting affidavits or other evidence properly brought before the court, the party opposing the
22   motion must furnish affidavits or other evidence necessary to satisfy its burden of establishing subject
23   matter jurisdiction.” Id. (quoting Savage, 343 F.3d at 1039 n.2).
24          C.      Review of State Law Claims
25          Under the Erie doctrine, federal courts should apply state law to those state law claims adjudicated
26   in federal courts under the auspices of supplemental jurisdiction. See United Mine Workers of Am. v.
27   Gibbs, 383 U.S. 715, 726 (1966) (citing Erie R. Co. v. Tompkins, 304 U.S. 64 (1938)).
28   ///

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 1   IV.    ARGUMENT
 2          A.      Plaintiffs’ Allegations Are Wholly Conclusory, Cannot Support a Cause of Action
                    Against Any of the SPCSA Defendants, and Must be Dismissed
 3

 4          Plaintiffs’ FAC is entirely devoid of factual allegations against Executive Director Feiden, Chair
 5   Mackedon or any of the other SPCSA Defendants such that it falls well below the requirements to survive
 6   a motion to dismiss. The FAC is focused almost exclusively on the conduct of entities and individuals
 7   related to DPAC. Plaintiffs’ focus is so extreme that Executive Director Feiden is mentioned exactly
 8   twice, only in paragraphs 20 and 27, which identify her as the Executive Director of the SPCSA and
 9   allege that she runs the day-to-day operations of the SPCSA, oversees the agency, and acts as executive
10   secretary to the board. Each of the other SPCSA Defendants appears only in paragraph 21, which alleges
11   simply that they are members of the board of the SPCSA. Beyond those identification paragraphs, the
12   individual members never appear in the FAC. There are no allegations that they take any action, review
13   any policies, approve any curriculum, or have conversations with any parents, students or school officials.
14   The SPCSA Defendants are simply absent from the FAC. Instead of alleging specific facts as required
15   by Iqbal, Plaintiffs craft a single broad allegation against the SPCSA Defendants (a term they fail to
16   define) and drop it into some (but not all) of the causes of action. The only allegation against the SPCSA
17   Defendants with any passing relevance to the claims raised in the FAC is that the SPCSA Defendants
18   failed to prevent the various harms from occurring. This allegation, as conclusory as it is, confirms that
19   Plaintiffs’ theory of the case is that wrongs were committed by persons other than the SPCSA Defendants.
20          “A pleading that offers ‘labels and conclusions’ or ‘a formulaic recitation of the elements of a
21   cause of action will not do.’” Iqbal, 556 U.S. at 678 (citation omitted). “Nor does a complaint suffice if
22   it tenders ‘naked assertion[s]’ devoid of ‘further factual enhancement.’” Id. (citation omitted). Plaintiffs’
23   FAC completely lacks factual enhancements regarding any of the SPCSA Defendants. Without specific
24   facts to show that any of the SPCSA Defendants engaged in affirmative misconduct, Plaintiffs instead
25   assert overly broad allegations that the SPCSA Defendants did not do enough to prevent the alleged
26   harms from occurring. However, the FAC lacks any detail to support these allegations: Plaintiffs do not
27   specify what policies or procedures were absent or deficient, which of the SPCSA Defendants should
28   have been aware of the alleged conduct, what power they were legally obligated to exercise to prevent it,

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 1   and how or why the SPCSA Defendants supposedly knew or ignored the alleged conduct. Instead, the
 2   FAC merely alleges a parade of supposedly bad conduct from the DPAC Defendants, and concludes that
 3   the SPCSA Defendants breached their duties by failing to review, visit, inspect and ensure compliance.
 4   While factual allegations in a complaint must be treated as true, “[t]hreadbare recitals of the elements of
 5   a cause of action, supported by mere conclusory statements, do not suffice.” Id. When the threadbare
 6   allegations of paragraphs 99, 110, 115, 122, 129, 136, and 144 are removed, the FAC simply identifies
 7   and alleges no wrongdoing against the SPCSA Defendants. This is wholly insufficient to defeat a motion
 8   to dismiss.
 9          Thus, the lack of substantive factual allegations regarding any and all of the SPCSA Defendants
10   requires dismissal of all causes of action as to them.
11          B.      Plaintiffs Failed to Invoke a Waiver of the State of Nevada’s Sovereign Immunity as
                    to their State Law Claims
12

13          States are protected from suits brought by citizens in federal court by the Eleventh Amendment.
14   Douglas v. Cal. Dep’t of Youth Auth., 271 F.3d 812, 817 (9th Cir. 2001). The State of Nevada has waived
15   its sovereign immunity only under limited circumstances. See NRS 41.031; see also NRS 41.0337. In
16   order to invoke a waiver of sovereign immunity in a civil action against the State of Nevada based upon
17   state law, an “action must be brought in the name of the State of Nevada on relation of the particular
18   department, commission, board or other agency of the State whose actions are the basis for the suit.”
19   NRS 41.031(2). Where a plaintiff sues a public officer for acts or omissions within the scope of a person’s
20   public duties or employment, or solely because of an alleged act or omission relating to the public
21   officer’s public duties or employment, NRS 41.0337(1) and 41.0337(2) require the plaintiff to comply
22   with NRS 41.031 by naming the State of Nevada or appropriate political subdivision as a party defendant.
23          Failure to invoke a waiver of sovereign immunity deprives a court of subject matter jurisdiction.
24   Al-Haramain Islamic Found., Inc. v. Obama, 705 F.3d 845, 850 n.2 (9th Cir. 2012) (citing Adam v.
25   Norton, 636 F.3d 1190, 1192 n. 2 (9th Cir. 2011) (“[S]overeign immunity is a limitation on the district
26   court’s subject matter jurisdiction.”)); see also Jiminez v. State, 98 Nev. 204, 205, 644 P.2d 1023, 1024
27   (1982) (assuming that failure to correctly name the State of Nevada as a party defendant pursuant to NRS
28   41.031 deprived the trial court of subject matter jurisdiction). Rules 12(b)(1) and 12(h)(3) require this

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 1   Court to dismiss an action as a matter of law in the absence of subject-matter jurisdiction. Except in rare
 2   cases where the literal application of a statute would demonstrably contradict the legislative intent, a
 3   court must give clear, unambiguous statutory language its plain meaning. Coronado-Durzao v. I.N.S.,
 4   123 F.3d 1322, 1324 (9th Cir. 1997) (citing Almero v. I.N.S., 18 F.3d 757, 760 (9th Cir. 1994)); see also
 5   Beazer Homes Nev., Inc. v. Eighth Jud. Dist. Ct., 120 Nev. 575, 578 n.4, 97 P.3d 1132, 1134 n.4 (2004)
 6   (“When a statute is clear, unambiguous, not in conflict with other statutes, and is constitutional, the
 7   judicial branch may not refuse to enforce the statute on public policy grounds”.).
 8          To invoke a waiver of the State of Nevada’s sovereign immunity, NRS 41.031(2) unambiguously
 9   requires a plaintiff to name the State of Nevada on relation of the particular agency of the State as a
10   defendant, and NRS 41.0337(1) requires a plaintiff suing a public employee or officer to comply with
11   NRS 41.031. Plaintiffs’ FAC asserts two causes of action against the SPCSA Defendants that expressly
12   rely on Nevada state law (Claims Nine and Ten). See FAC ¶¶ 152-63, 168-73. To the extent these state
13   law claims are brought against the SPCSA Defendants, Plaintiffs failed to name the State of Nevada on
14   relation of (or “ex rel.”) the SPCSA as a party defendant, instead naming only the SPCSA Executive
15   Director and members of the SPCSA board by name in their official capacities. See FAC at 1. By failing
16   to explicitly and unambiguously name the State of Nevada on relation of the SPCSA as a party defendant,
17   Plaintiffs failed to invoke a waiver of the State of Nevada’s sovereign immunity for these state law claims.
18   NRS 41.031(2); NRS 41.0337(1); NRS 41.0337(2). Plaintiffs’ failure to invoke a waiver of sovereign
19   immunity deprives this Court of subject matter jurisdiction, which requires dismissal of the state law
20   claims under Rules 12(b)(1) and 12(h)(3).
21          Further, Plaintiffs cannot cure this defect by amending their FAC. Plaintiffs’ claims are brought
22   under Nevada law, and per Nevada law, where statutes provide specific procedures for initiating a
23   particular type of lawsuit, failure to adhere to those procedures renders a complaint void ab initio. See
24   Otak Nev., LLC v. Eighth Jud. Dist. Ct., 127 Nev. 593, 599, 260 P.3d 408, 411–12 (2011), abrogated on
25   other grounds by Reif by and through Reif v. Aries Consultants, Inc., 135 Nev. 389, 381, 449 P.3d 1253,
26   1255 (2019); see also Nickelson v. United States, 3:13-CV-00493-LRH, 2014 WL 1814281, at *1 (D.
27   Nev. May 7, 2014) (citing Washoe Med. Ctr. v. Second Jud. Dist. Ct., 122 Nev. 1298, 1304, 148 P.3d
28   790, 794 (2006)). Complaints that are void ab initio “may not be amended because they are void and do

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 1   not legally exist.” Otak Nev., LLC, 127 Nev. at 411–12 (citing Washoe Med. Ctr., 122 Nev. at 1300, 148
 2   P.3d at 792). Because Plaintiffs failed to comply with the requirements of NRS 41.031(2) to invoke a
 3   waiver of the State of Nevada’s sovereign immunity, their state law claims are void ab initio and cannot
 4   be amended. Dismissal of the state law claims without leave to amend is therefore required under Rules
 5   12(b)(1) and 12(h)(3).
 6           C.      Plaintiffs’ Requests for Declaratory and Injunctive Relief and Plaintiffs’ State Law
                     Claims Are Not Justiciable
 7

 8           Plaintiffs seek (1) a declaration regarding what classroom activity is permissible; and (2) a

 9   permanent injunction enjoining the SPCSA Defendants from reauthorizing DPAC’s charter unless DPAC

10   takes certain actions. FAC at 30-31. Plaintiffs also appear to allege two state law causes of action against

11   the SPCSA Defendants (Claims Nine and Ten). See id. ¶¶ 152-63. The Court must dismiss Plaintiffs’

12   requests for declaratory and injunctive relief as well as their state law claims for lack of subject matter

13   jurisdiction.

14                   1.       Mr. Clark’s Graduation Moots Plaintiffs’ Declaratory and Injunctive Relief
                              Requests
15

16           “Federal courts lack jurisdiction to consider moot claims.” Rosemere Neighborhood Ass’n v.
17   U.S. Env’t Prot. Agency, 581 F.3d 1169, 1172 (9th Cir. 2009) (citation omitted). In this case, Plaintiffs
18   declaratory and injunctive relief claims are moot, or will likely be moot by the time Plaintiffs file their
19   response to this motion. “A case becomes moot when interim relief or events have deprived the court of
20   the ability to redress the party’s injuries.” Am. Cas. Co. of Reading, Pa. v. Baker, 22 F.3d 880, 896 (9th
21   Cir. 1994) (citation omitted).
22           The Ninth Circuit has consistently dismissed requests for injunctive and declaratory relief based
23   on mootness where a student-plaintiff has already suffered an injury and the requested relief would not
24   remedy the injury. See, e.g., Doe v. Madison Sch. Dist. No. 321, 177 F.3d 789, 798 (9th Cir. 1999) (en
25   banc) (dismissing requests based on forced participation in graduation ceremony prayers where student
26   had already graduated); K. Y. through Yu v. Schmitt, 799 F. App’x 485, 486-87 (9th Cir. 2020) (dismissing
27   requests based on school election campaign rules where student could no longer run in a school election);
28   C.F. ex rel. Farnan v. Capistrano Unified Sch. Dist., 654 F.3d 975, 983 (9th Cir. 2011) (dismissing

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 1   request based on statements made during a class where student had graduated); Cole v. Oroville Union
 2   High Sch. Dist., 228 F.3d 1092, 1098-99 (9th Cir. 2000) (dismissing request based on policy of not
 3   permitting sectarian, proselytizing speeches as part of graduation where students had already graduated).
 4          These cases all demonstrate that “[a] student’s graduation moots claims for declaratory and
 5   injunctive relief.” Doe, 177 F.3d at 798; see also Cole, 228 F.3d at 1098 (“It is well-settled that once a
 6   student graduates, he no longer has a live case or controversy justifying declaratory and injunctive relief
 7   against a school’s action or policy.”). This principle applies here. Plaintiffs have stipulated that Plaintiff
 8   “William Clark’s first and second trimester Sociology of Change grades” have been expunged and that
 9   his transcript has been updated to reflect the same. ECF No. 98 ¶ 1. Moreover, Mr. Clark has been
10   excused “from completing the Sociology of Change course as a graduation requirement, such that he will
11   remain on track to graduate in May 2021.” Id. Because Mr. Clark will likely have already graduated by
12   the time Plaintiffs respond to this motion, the court “cannot remedy the student-plaintiff’s injury with
13   injunctive or declaratory relief.” Doe, 177 F.3d at 798. Neither a declaration of what conduct is
14   permissible in a classroom, nor an injunction to prevent the SPCSA Defendants from reauthorizing the
15   DPAC charter will remedy any alleged harm Plaintiffs suffered as Mr. Clark will no longer be a student
16   at DPAC.
17          Notably, no exception to the mootness doctrine applies here. The “capable of repetition, yet
18   evading review” exception does not apply because there is no “reasonable expectation that the same
19   complaining party [will] be subject to the same action.” K.Y. through Yu, 799 F. App’x at 487 (quoting
20   Spencer v. Kemna, 523 U.S. 1, 17 (1998)). As noted, Plaintiffs and the DPAC Defendants have stipulated
21   that Mr. Clark will not be required to take the Sociology of Change class to graduate. ECF No. 98 ¶ 1.
22   Nor is this a case where “the duration of the challenged action is too short to be fully litigated before it
23   ceases.” Doe, 177 F.3d at 798 (citation omitted). In Doe, the Ninth Circuit, sitting en banc, held that a
24   graduation prayer case could be fully challenged. Id. There would therefore also be sufficient time to
25   challenge the contents of a year-long course prior to graduation.
26          The “voluntary cessation” exception to mootness also does not apply here because no defendant,
27   including the SPCSA Defendants, is alleged to have stopped any policy. See id. at 799 (“Defendants
28   have not stopped using the graduation policy and, therefore, this mootness exception does not apply.”).

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 1   And finally, Plaintiffs have not alleged that they would suffer any collateral legal consequences if the
 2   challenged actions were left standing. See id.
 3          Because Plaintiffs’ injunctive and declaratory relief requests will likely be moot by the time of
 4   the filing of any response to this motion, the Court likely will not have subject matter jurisdiction by the
 5   time this motion is fully briefed.
 6                    2.    Plaintiffs Lack Standing to Seek Declaratory and Injunctive Relief and to
                            Assert their State Law Claims
 7

 8          Federal courts lack jurisdiction to consider claims where a plaintiff lacks standing. Warren v.
 9   Fox Family Worldwide, Inc., 328 F.3d 1136, 1140 (9th Cir. 2003) (citations omitted). “[A] plaintiff must
10   demonstrate standing separately for each form of relief sought.” Mayfield v. United States, 599 F.3d 964,
11   969 (9th Cir. 2010) (citation omitted). To establish the irreducible constitutional minimum of standing,
12   “the plaintiff must have (1) suffered an injury in fact, (2) that is fairly traceable to the challenged conduct
13   of the defendant, and (3) that is likely to be redressed by a favorable judicial decision.” Spokeo, Inc. v.
14   Robins, 136 S. Ct. 1540, 1547 (2016). Plaintiffs’ declaratory and injunctive relief requests fail on the
15   third element of standing. And Plaintiffs’ state law claims fail on the second element.
16                          a.       Plaintiffs Lack Standing to Seek Declaratory and Injunctive Relief
                                     Because their Requested Relief Will Not Redress any Alleged Injury
17

18          Even if Plaintiffs’ requests for declaratory and injunctive relief are not mooted by Mr. Clark’s
19   graduation, Plaintiffs would still lack standing to pursue those remedies. To establish redressability,
20   Plaintiffs would need to show that it is “likely, as opposed to merely speculative, that the injury will be
21   redressed by a favorable decision.” Lujan v. Defenders of Wildlife, 504 U.S. 555, 561 (1992) (internal
22   quotation marks omitted). Where a plaintiff seeks declaratory and injunctive relief, the plaintiff must
23   “show a very significant possibility of future harm; it is insufficient for them to demonstrate only a past
24   injury.” San Diego Cty. Gun Rights Comm., 98 F.3d 1121, 1126 (9th Cir. 1996) (citation omitted). Here,
25   Plaintiffs cannot show that their requested relief would redress any alleged injury they have suffered or
26   are suffering.
27          With respect to Plaintiffs’ request that the SPCSA Defendants be enjoined from reauthorizing
28   DPAC’s charter, Plaintiffs lack standing because they have not alleged any present or future illegal

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 1   conduct. See Steel Co. v. Citizens for a Better Env’t, 523 U.S. 83, 109 (1998) (where injury is based on
 2   “[p]ast exposure to illegal conduct,” and “not a continuing violation or the likelihood of a future violation,
 3   injunctive relief will not redress [a plaintiff’s] injury”). Second, DPAC’s charter is not due to be renewed
 4   until 2026. See Charter School Contract, ECF No. 1-3 at § 1.3.2. Plaintiffs do not explain how an action
 5   five years in the future could provide them any remedy. Third, and more fundamentally, Plaintiffs do
 6   not explain how this relief would be likely to remedy their supposed injuries: the only effect of not
 7   renewing the charter would be the closure of DPAC, but Mr. Clark will no longer be a high school student
 8   in 2026 so the possible renewal of DPAC will have no effect on him.
 9          With respect to Plaintiffs’ declaratory relief request, Plaintiffs again fail to show how the relief
10   would redress any present or future alleged injuries. Because Plaintiffs’ grievances relate only to the
11   Sociology of Change class, and Plaintiffs have stipulated that Mr. Clark will not be required to take the
12   Sociology of Change class to graduate, the requested declaration would redress no purported injury of
13   Plaintiffs. ECF No. 98 ¶ 1; see also Hisenrath on behalf of C.H. v. Sch. Dist. of Chathams, Civ. No. 18-
14   000966(KM) (MAH), --- F. Supp. 3d ---, 2020 WL 6621954, at *7 (D.N.J. Nov. 12, 2020) (“[P]laintiffs
15   lack standing to seek a declaration that past conduct was illegal when there is no prospect that such a
16   declaration can be used to redress a current or future injury.”).
17                          b.      Plaintiffs Lack Standing to Assert their State Law Claims Because
                                    They Fail to Allege any Injury Traceable to the SPCSA Defendants’
18                                  Conduct
19          In connection with Plaintiffs’ state law causes of action, Plaintiffs have failed to allege “a causal
20   connection between the injury and the conduct complained of.” Lujan, 504 U.S. at 560. In Claim Nine,
21   Plaintiffs assert that DPAC breached the terms of the “Scholar & Family Handbook,” which is “a contract
22   between DPAC and its students and families.” FAC ¶ 153. Plaintiffs then claim that they “have been
23   injured by Defendants’ breach of contract,” presumably including the SPCSA Defendants in the claim.
24   Id. ¶ 156 (emphasis added). But Plaintiffs do not claim that the SPCSA Defendants are a party to the
25   Scholar & Family Handbook. Nor do they allege facts establishing how the SPCSA Defendants violated
26   the terms of the supposed contract to which they are not parties. In Claim Ten, Plaintiffs at least base
27   their breach of contract claim on a contract to which the SPCSA, but not the individual SPCSA
28   Defendants, is a party (the charter contract between the SPCSA and DPAC). See FAC ¶¶ 158, 163.

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 1   However, Plaintiffs again fail to allege that the SPCSA Defendants (or the SPCSA for that matter)
 2   breached any terms of the agreement.
 3           On these facts, where the SPCSA Defendants are not alleged to have breached any contract,
 4   Plaintiffs have failed to establish that any injury that they allegedly suffered is fairly traceable to any
 5   conduct of the SPCSA Defendants.          As a result, Plaintiffs’ state law claims against the SPCSA
 6   Defendants must be dismissed for lack of subject matter jurisdiction.
 7           D.      The SPCSA Defendants Are Immune from Damages for Plaintiffs’ Section 1983
                     Claims
 8

 9           Plaintiffs assert at least five claims (Claims One through Five, and possibly Claim Eleven) against

10   the SPCSA Defendants pursuant to 42 U.S.C. § 1983. FAC ¶¶ 92-130, 164-67. Plaintiffs specifically

11   name the SPCSA Defendants only in their official capacities. Id. ¶¶ 20-21. But the Eleventh Amendment

12   to the U.S. Constitution forecloses Plaintiffs’ money damages claims against the SPCSA Defendants in

13   their official capacities.

14           Section 1983 authorizes lawsuits “to redress deprivations of civil rights by persons acting ‘under

15   color of any [state] statute, ordinance, regulation, custom, or usage.’” Hafer v. Melo, 502 U.S. 21, 27

16   (1991) (quoting 42 U.S.C. § 1983). The Eleventh Amendment, however, “bars suits in federal court ‘by

17   private parties seeking to impose a liability which must be paid from public funds in the state treasury . .

18   . .’” Id. at 30 (citation omitted). And “[s]tate officers sued for damages in their official capacity are not

19   ‘persons’ for purposes of [a § 1983] suit because they assume the identity of the government that employs

20   them.” Id. at 27; see also Cole, 228 F.3d at 1100 n.4 (finding that the district court “correctly concluded

21   it did not have jurisdiction over the appellants’ damage claims against the District and District officials

22   in their official capacities, because California school districts are state agencies and thus immune from

23   damages suits under the Eleventh Amendment”). Accordingly, the Court should dismiss Plaintiffs’ §

24   1983 claims against the SPCSA Defendants for money damages.

25           E.      Plaintiffs Fail to Allege Facts Sufficient to Sustain a Breach of Contract Claim

26           Plaintiffs allege two breach of contract claims. Claim Nine alleges a breach of the DPAC

27   “Scholar & Family Handbook” which, according to paragraph 153 is a contract between DPAC and its

28   students and families. Claim Ten alleges that DPAC breached the charter contract between the SPCSA

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 1   and DPAC and that Plaintiffs are third-party beneficiaries to that contract. Plaintiffs fail to sufficiently
 2   allege a breach against the SPCSA Defendants on both counts because no SPCSA Defendant is a party
 3   to either alleged contract.
 4                  1.      None of the Named SPCSA Defendants Are Parties to or Bound by DPAC’s
                            Handbook
 5

 6           Plaintiffs allege that DPAC and its students and families are the parties to the contract created by

 7   the handbook. Accepting for the purposes of argument that the handbook creates any binding contract,

 8   it certainly did nothing to personally bind the SPCSA’s Executive Director and board members. Plaintiffs

 9   fail to allege any link between the SPCSA Defendants and the student handbook.

10           “As a general rule, [an action] for breach of contract may not be maintained against a person who

11   is not a party to the contract.” Bernard Johnson, Inc. v. Cont’l Constructors, Inc., 630 S.W.2d 365, 369

12   (Tex. App.1982); see also Wallace ex rel. Cencom Cable Income Partners II, L.P. v. Wood, 752 A.2d

13   1175, 1180 (Del. Ch. 1999). Here Plaintiffs’ failure to demonstrate any of the SPCSA Defendants are

14   parties to the alleged handbook contract must result in a dismissal of this claim against each of the SPCSA

15   Defendants.
                    2.      Neither the Named SPCSA Defendants nor Plaintiffs Are Parties to or Bound
16                          by the Charter Contract
17           For the reasons previously stated regarding Claim Nine, Claim Ten fails as well. Plaintiffs allege

18   the charter contract is a legally enforceable contract between the SPCSA and DPAC. However, they

19   cannot and do not set forth a good faith allegation that any of the SPCSA Defendants are parties to the

20   contract. As non-parties cannot be held liable for breach, Claim Ten must be dismissed against each of

21   the SPCSA Defendants.

22                  3.      Plaintiffs’ Allegations that DPAC Breached the Charter Contract Discharges
                            the Duties of Other Parties
23

24           Assuming arguendo that the SPCSA Defendants were parties to the charter contract and that
25   Plaintiffs were third-party beneficiaries, the breach of contract that Plaintiffs allege against DPAC
26   eliminates the SPCSA’s obligations to perform its duties under the contract.
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 1           “When parties exchange promises to perform, one party’s material breach of its promise
 2   discharges the non-breaching party’s duty to perform.” Cain v. Price, 134 Nev. 193, 196 (2018) (citing
 3   Restatement (Second) of Contracts § 237 (Am. Law Inst. 1981)).
 4           Here, Plaintiffs lay out only two promises that may have been violated in Claim Ten, both of
 5   which were made by DPAC. There is no allegation against any SPCSA Defendant. The only mention
 6   of the SPCSA is a general allegation that the SPCSA itself (and not any of the SPCSA Defendants) along
 7   with DPCA failed to “live up to the promises each made.” Not only is such an allegation insufficient to
 8   make out a claim against the SPCSA Defendants, by alleging DPAC’s breach, the Plaintiffs have further
 9   alleged that the SPCSA Defendants were relieved of any duty to perform. Whether the duty of
10   performance was owed to the breaching party or a third party makes no difference. “If the non-breaching
11   party’s duty was to a third-party beneficiary, the same principle applies: the breaching party’s “failure of
12   performance” discharges the beneficiary’s right to enforce the contract.” Id.
13           Thus, Plaintiffs’ allegation that DPAC breached the charter contract eliminates any obligation of
14   the non-DPAC Defendants to perform.
15           F.     Plaintiffs’ Claims Should Be Dismissed as Described in the DPAC Defendants’
                    Motion to Dismiss
16

17           As the DPAC Defendants persuasively explain in their Motion to Dismiss, the following claims
18   must be dismissed:
19           •      All claims brought by Mrs. Clark. DPAC Defendants’ Motion to Dismiss, Argument § I.
20           •      Claim Three, based on the Establishment Clause. Id. § II(A).
21           •      Claim Four, based on the Equal Protection Clause. Id. § II(B).
22           •      Claim Five, based on the Due Process Clause. Id. § II(C).
23           •      The injunctive and declaratory relief claims. Id. § II(F).
24           •      Claims Six and Seven, based on Titles Six and Nine. Id. § III(A).
25           The SPCSA Defendants join in the above-referenced sections of the DPAC Defendants’ Motion
26   to Dismiss.
27   ///
28   ///

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 1   V.     CONCLUSION
 2          For the foregoing reasons, and for the reasons stated in the DPAC Defendants’ Motion to Dismiss,
 3   the Court should dismiss the FAC as against the SPCSA Defendants in its entirety.
 4          DATED this 3rd day of June, 2021.
 5                                               AARON D. FORD
                                                 Attorney General
 6

 7                                               By:    /s/ Laena St-Jules
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 1                                     CERTIFICATE OF SERVICE
 2          I certify that I am an employee of the Office of the Attorney General, State of Nevada, and that
 3   on June 3rd, 2021, I filed the foregoing SPCSA DEFENDANTS’ MOTION TO DISMISS THE
 4   FIRST AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF by this
 5   Court’s CM/ECF system. Parties will be notified by the Court’s notification system.
 6

 7                                                      /s/ Caitie Collins
                                                        Caitie Collins, An employee of the
 8                                                      Office of the Attorney General
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